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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL, DIVISION

                                                   §
  Netlist, Inc.                                    §
                                                   §
  v.                                               §      CASE NO. 2:22-cv-00293-RWS
                                                   §
                                                   §
  Samsung Electronics Co., LTD, et al .            §

                                  REPORT OF MEDIATION

         The above-captioned case was mediated by Zoom, Thursday, September 12, 2024. The

 mediation session was suspended but the undersigned will continue settlement discussions.

         Signed this Friday, September 13, 2024.


                                                       /s/ David Folsom
                                                       David Folsom
                                                       David@FolsomADR.com
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                                                       FORM - Mediation Report-28051497 2



                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
 compliance with Local Rule CV-5(a) on this Friday, September 13, 2024. As such, this document
 was served on all counsel who are deemed to have consented to electronic service. Local Rule
 CV-5(a)(3)(A).

                                                       /s/ David Folsom
                                                       David Folsom
